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           EXHIBIT 2
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                                                                           Meta Business Help Center




          How can we help?




      Last updated: Nov 2, 2021




   About Fact-Checking on Facebook
   13,243 views


   We're committed to fighting the spread of misinformation on Facebook and Instagram. In many countries and regions, we work with independent, third-party fact-
   checking organizations who are certified through the non-partisan International Fact-Checking Network (IFCN) to identify, review and take action on this content.
   Read more about our partnerships here and learn about the elements of our program below.

        Rating Options for Fact-Checkers

        Program Policies

        Facebook's Enforcement of Fact-Checker Ratings

        Issue a Correction or Dispute a Rating


   The focus of this fact-checking program is identifying and addressing viral misinformation, particularly clear hoaxes that have no basis in fact. Fact-checking partners
   prioritize provably false claims, especially those that are timely or trending and important to the average person.

   Fact-checking partners do not prioritize claims that are inconsequential or consist of minor inaccuracies. Additionally, the program is not meant to interfere with
   individual expression, opinions and debate, clearly satirical or humorous content, or business disputes.

   How the program works

https://www.facebook.com/business/help/2593586717571940?id=673052479947730                                                                                                    1/3
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   Our program includes several key steps:

        Identify false news: We identify potential misinformation using signals, like feedback from people on Facebook, and surface the content to fact-checkers.
        Fact-checkers may also identify content to review on their own.

        Review content: Fact-checkers will review content, check its facts, and rate its accuracy. This happens independently from Facebook, and may include
        calling sources, consulting public data, authenticating videos and images, and more.

        Clearly label misinformation and inform users about it: We apply a label to content that’s been reviewed by fact-checking partners, so people can
        read additional context. We also notify people before they try to share this content, and people who have shared it in the past.

        Ensure fewer people see misinformation: Once a fact-checker rates a piece of content as False, Altered or Partly False, it will appear lower in News
        Feed, be filtered out of Explore on Instagram, and be featured less prominently in Feed and Stories. This significantly reduces the number of people who
        see it. We also reject ads with content that has been rated by fact-checkers.

        Take action against repeat offenders: Pages and websites that repeatedly share misinformation rated False or Altered will have some restrictions,
        including having their distribution reduced. They may also have their ability to monetize and advertise removed, and their ability to register as a news
        Page removed for a given time period.




   Was this information helpful?                                                                                                                        Permalink · Share
       Yes       No




   More in this section: NEWS



        OVERVIEW



         Fact-checking on Facebook




        RATING OPTIONS AND PROGRAM POLICIES




        ENFORCEMENT



        CORRECTIONS AND DISPUTES




                                                             NEWS | Third Party Fact Checking




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                       Facebook can help your large, medium or small business grow. Get the latest news for advertisers and more on our Meta for
                                                                              Business Page.




             Marketing on Facebook



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          Success stories                                                                Marketing objectives

          Measurement                                                                    Build your presence

          Industries                                                                     Create awareness

          Inspiration
                                                                                         Drive discovery
          Events
                                                                                         Generate leads
          News
                                                                                         Boost sales
          Sitemap
                                                                                         Earn loyalty


          Facebook Pages                                                                 Facebook ads

          Get started with Pages                                                         Get started with ads

          Setting up your Page                                                           Buying Facebook ads

          Manage your Facebook Page                                                      Ad formats

          Promote your Page                                                              Ad placement

          Create and boost Facebook posts                                                Choose your audience

          Messaging on your Page                                                         Measure your ads

          Page Insights                                                                  Managing your ads


          Resources

          Ads Guide

          Business Help Center

          Audience Network

          Facebook Blueprint

          Facebook for Developers

          Facebook IQ

          Facebook Business Partners

          Instagram Business

          Visit our Facebook Page

          Support




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